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                        IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

SERVICE FINANCE COMPANY, LLC,
                                                      Case No. __________
                                                               1:23-cv-09447
                              Plaintiff,

                   v.

YOU SAVE GREEN INCORPORATED dba
YSG SOLAR; and DAVID MAGID

                              Defendants.


                                           COMPLAINT

       Plaintiff, Service Finance Company, LLC (“SFC”), through its undersigned counsel,

hereby files its Complaint against Defendant You Save Green Incorporated dba YSG Solar, a New

York corporation (“YSG”), and its principal, Defendant David Magid (“Magid” and together with

YSG, “Defendants”), and in support thereof avers and represents as follows:

                          PARTIES, JURISDICTION, AND VENUE

       1.      SFC is a Florida limited liability company. None of SFC’s members are citizens

of New York. The sole member of SFC is Service Finance Holdings, LLC, and the sole member

of Service Finance Holdings, LLC is Truist Bank, a banking corporation organized under the laws

of and with its principal place of business in North Carolina.




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        2.      YSG is a New York corporation with its principal place of business in New York,

New York.

        3.      Upon information and belief, Magid is an individual residing in New York, New

York. At all times relevant to this action, Magid was the principal and a manager of YSG.

        4.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a) because:

(a) this action is between citizens of different states; and (b) as set forth below, the matter in

controversy exceeds $75,000.

        5.      This Court has personal jurisdiction over Defendants because each is “at home”

and subject to the exercise of general jurisdiction in New York. Alternatively, this Court may

exercise specific jurisdiction over Defendants because they acted (or failed to act) in a manner

giving rise to SFC’s claims in New York.

        6.      Venue is appropriate in this judicial district pursuant to 28 U.S.C. § 1391 because:

(1) at least one Defendant resides in this district; and (2) a substantial part of the events giving rise

to SFC’s claims occurred in this district.

                                   GENERAL ALLEGATIONS

        7.      YSG is a general contractor previously licensed to do business with the NYC

Department of Buildings with contractor id number 606125.

        8.      On or about May 4, 2020, YSG and SFC entered in to the SFC Master Dealer

Agreement (Progress Payments) (the “Master Dealer Agreement”). A true and correct copy of the

Master Dealer Agreement is attached hereto as Exhibit A and incorporated by reference herein.

        9.      As a contractor, YSG sells “goods and services including, but not limited to,

roofing, remodeling, air conditioning and heating, geothermal and solar goods and services (… the




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‘Merchandise’) to consumers (each a ‘Buyer’ and collectively, the ‘Buyers’).” See Ex. A, Master

Dealer Agreement at First Recital.

       10.     SFC is in the business of providing financing and related services. See Ex. A,

Master Dealer Agreement at Second Recital. Pursuant to the Master Dealer Agreement, SFC

agreed to provide financing to Buyers purchasing residential contracting services from YSG.

       11.     Through the Master Dealer Agreement, YSG evidenced its intent to sell

Merchandise to Buyers on credit terms, pursuant to a contract with the Buyer that describes the

Merchandise and the work required to install it. See Ex. A, Master Dealer Agreement at Third

Recital.

       12.     YSG would finance the sale of the Merchandise through execution of a retail

installment contract or other evidence of indebtedness, in a form specified by SFC (each an

“Instrument”). See Ex. A, Master Dealer Agreement at Fourth Recital.

       13.     SFC and YSG entered into the Master Dealer Agreement so that SFC could

purchase the Instruments from YSG under the terms agreed to in the Master Dealer Agreement.

See Ex. A, Master Dealer Agreement at Fifth Recital.

       14.     The Parties also agreed that SFC could pay up to fifty percent of the Instrument

Price prior to SFC’s purchase of the Instrument. See Ex. A, Master Dealer Agreement at Sixth

Recital.

       15.     With respect to each Instrument that YSG sold to SFC under the Master Dealer

Agreement, YSG represented and warranted to SFC (among other things) that: (a) each

Transaction underlying an Instrument represented a bona fide sale and, if applicable, installation

of, Merchandise to the Buyer named in the Instrument; (b) that by executing a Certificate of

Completion, as defined therein, YSG certified “that the Transaction is complete and that, to the




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best of [YSG’s] knowledge, the Buyer is satisfied with the work performed by [YSG]; and (c) that

“[t]he Transaction evidenced by the Instruments is free from set off or valid counterclaim of any

nature including any fraudulent act by [YSG].” Ex. A, Master Dealer Agreement at §§ 1(a) - (c).

       16.     Moreover, the Master Dealer Agreement provides: “in the event that subsequent to

its purchase of an Instrument, SFC shall determine that [YSG] has breached any of the

representations or warranties . . . with respect to [the consumer transaction underlying that

Instrument], SFC shall be entitled to damages in the amount of the Instrument Price paid by SFC

to [YSG] for the Instrument affected by such breach.” Ex. A, Master Dealer Agreement at § 4.

       17.     Upon a breach by YSG entitling SFC to damages, YSG specifically authorized SFC

to debit YSG’s bank account “for the full amount of the Instrument Price paid to Dealer for the

Instrument affected by such breach.” Ex. A, Master Dealer Agreement at § 4.

       18.     The Master Dealer Agreement further provides: “In the event of a dispute between

[YSG] and SFC arising out of or in any way related to this Agreement or any transaction

contemplated by this Agreement, the prevailing Party shall be entitled to recover from the other

Party its costs and other expenses (including, without limitation, reasonable audit and attorneys’

fees) incurred in connection with such dispute.” Ex. A, Master Dealer Agreement at § 25.

       19.     YSG entered in to multiple transactions for work and executed Instruments with

various Buyers for the purchase and installation of Merchandise.

       20.     With respect to each transaction, YSG provided SFC with Certificates of

Completion certifying that 100% of the work financed by the Instrument had been completed to

the complete satisfaction of the Borrower.

       21.     In reliance on the representations made by YSG in the Certificates of Completion,

SFC made twelve separate payments to YSG, totaling $318,749.92.




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        22.       SFC subsequently learned that despite YSG’s representations in the Certificates of

Completion, the work contracted for by the Buyers had not been completed, and the Buyers were

not satisfied.

        23.       After several months of communications with YSG having ample opportunity to

appropriately complete and correct any work due to Buyer, YSG has failed and refused to

satisfactorily complete the work.

        24.       On September 6, 2023, SFC made written demand on YSG for payment in the

amount of $318,749.92. See Master Dealer Agreement at §§ 4 and 25. A true and correct copy of

the demand letter is attached hereto as Exhibit B and incorporated by reference herein.

        25.       To date, YSG has not repaid any portion of the amounts due to SFC.

                                         COUNT ONE
                 (Breach of the Master Dealer Agreement against Defendant YSG)

        26.       All preceding Paragraphs are incorporated herein by reference, as though the same

were set forth at length.

        27.       The Master Dealer Agreement is a valid and enforceable contract between SFC and

YSG.

        28.       YSG breached the Master Dealer Agreement by executing a false certificate of

completion and certifying that the work had been completed and the customer was satisfied with

the work when in fact, the work was not complete. See Ex. A, Master Dealer Agreement at § 1(b).

        29.       SFC has been damaged in an amount of no less than $318,749.92 as a direct and

proximate result of YSG’s misrepresentations in the Certificate of Completion and its failure to

properly complete the work.

        30.       Pursuant to the plain terms of the Master Dealer Agreement, SFC is entitled to

recover $318,749.92 from YSG. See Ex. A, Master Dealer Agreement at § 4.



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       31.      SFC also is entitled to recover from YSG all costs and expenses that SFC has

incurred in connection with YSG’s breach of the representations and warranties concerning the

certificates of completion, including attorneys’ fees and costs incurred herein. See Ex. A, Master

Dealer Agreement at § 25.

                                         COUNT TWO
                                (Unjust Enrichment against YSG)

       32.      All preceding Paragraphs are incorporated herein by reference, as though the same

were set forth at length.

       33.      SFC conferred a benefit on YSG by funding the loan in the amount of $318,749.92.

       34.      YSG accepted the benefit and wrongfully retained $318,749.92 the value of the

transfers from SFC, despite not having fulfilled its obligations under the Master Dealer Agreement.

       35.      Because the Buyer is authorized to rescind the Instrument under the terms of that

agreements, SFC is unable to recover on the Instrument.

       36.      It would be inequitable to permit YSG to retain the benefit of the monies paid at

the expense of SFC.

                                       COUNT THREE
             (Breach of the Covenant of Good Faith and Fair Dealing against YSG)

       37.      All preceding Paragraphs are incorporated herein by reference, as though the same

were set forth at length.

       38.      The Master Dealer Agreement is a valid, binding, and enforceable agreement

between SFC and YSG.

       39.      The Master Dealer Agreement is governed by Florida substantive law. Ex. A,

Master Dealer Agreement at §§ 16, 20.

       40.      Florida law implies a duty of good faith and fair dealing into all contracts, including

the Master Dealer Agreement.


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        41.     YSG owes a duty of good faith and fair dealing to SCF.

        42.     By the acts set forth herein, including, but not limited to, YSG’s failure to make

payments due to SCF under the Master Dealer Agreement, YSG has breached its duty of good

faith and fair dealing.

        43.     As a reasonable and foreseeable consequence of YSG’s breach of the duty of good

faith and fair dealing, SFC has suffered damages in an amount to be proven at trial, but in any

event no less than the amounts due under the Master Dealer Agreement, exclusive of default

interest, late fees and reasonable attorneys’ fees and costs incurred by SFC in the enforcement of

its rights under the Master Dealer Agreement pursuant to the terms thereof.

                                        COUNT FOUR
                                   (Fraud against Defendants)

        44.     All preceding Paragraphs are incorporated herein by reference, as though the same

were set forth at length.

        45.     Defendants knew that the representations in the Certificates of Completion were

false when made.

        46.     Specifically, at the time the Certificates of Completion were submitted to SFC,

Defendants had actual knowledge that the work was not complete and that the Buyers were not

satisfied with the work.

        47.     Defendants made the false representations in the Certificates of Completion for the

express purpose of causing SFC to make payments on the Instruments to YSG.

        48.     SFC relied on the false statements and made payment in the amount of $318,749.92

to YSG, in reliance on the statements made in the Certificates of Completion.

        49.     Had SFC known that the statements in the Certificates of Completion were false,

SFC would not have paid the monies to YSG.



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       50.     SFC was injured in the amount of $318,749.92 as a result of its reliance on the false

statements in the Certificates of Completion.

                                       COUNT FIVE
                      (Conspiracy to Commit Fraud against Defendants)

       51.     All preceding Paragraphs are incorporated herein by reference, as though the same

were set forth at length.

       52.     Defendants agreed to and did include false statements in the Certificates of

Completion, representing to SFC that the project was complete where they had either not been

started or were not fully performed.

       53.     YSG’s representations in the Certificates of Completion were false and unlawful.

       54.     Defendants intended for SFC to rely on the Certificates of Completion to its

detriment.

       55.     SFC did rely on the false Certificates of Completion and was damaged in the

amount of $318,749.92 plus attorneys’ fees and costs incurred herein.

                                        COUNT SIX
                            (Negligent Supervision against Magid)

       56.     All preceding Paragraphs are incorporated herein by reference, as though the same

were set forth at length.

       57.     This claim is alleged in the alternative to Counts Four and Five. As a principal and

manager of YSG, Magid had a duty to supervise and/or otherwise oversee the work of other YSG

employees.

       58.     Upon information and belief, Magid entrusted management of YSG to another

individual (“John Doe”), who assisted in creating the false Certificates of Completion and assisted

in taking the actions necessary to transfer the false Certificates of Completion to SFC.




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       59.     Upon information and belief, Magid failed to supervise and/or otherwise oversee

John Doe’s work. Had Magid properly done so, he (and through him, YSG) would have learned

of and prevented the issuance of the false Certificates of Completion.

       60.     Had Defendants properly supervised John Doe, Defendants also would have been

better positioned to repay SFC upon receipt of SFC’s demand for repayment of the total purchase

price of the Instruments.

       61.     SFC has been damaged in an amount of no less than $318,749.92 as a direct and

proximate result of Magid’s failure to properly supervise John Doe.

                                      COUNT SEVEN
                        (Aiding and Abetting Fraud against Defendants)

       62.     All preceding Paragraphs are incorporated herein by reference, as though the same

were set forth at length.

       63.     Defendants knew or should have known that the statements made in the Certificates

of Completion were false.

       64.     Defendants falsely completed the Certificates of Completion or willingly allowed

another individual to falsify the Certificates of Completion.

       65.     Defendants failed to inform SFC that the Certificates of Completion were false

despite knowing that the Certificates of Completion constituted YSG’s certification that the work

had been completed under the Master Dealer Agreement.

       66.     YSG benefited from the fraud because it received $318,749.92 when SFC accepted

and processed the Instrument in reliance on the falsified Certificates of Completion.

       67.     Magid benefited from the fraud as the principal of YSG.

       68.     Defendants had the opportunity to stop the fraud and failed to act or inform SFC

that the statements in the Certificates of Completion were false.



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         69.       But for Defendants’ failure to act or participation in submitted the false Certificate

of Completion, SFC would not have received those affirmative misrepresentations, and YSG

would not have fraudulently obtained $318,749.92 from SFC.

                                        PRAYER FOR RELIEF

         WHEREFORE, SFC prays as follows: (a) an award be entered in favor of SFC and against

both YSG and Magid in an amount of not less than $318,749.92; (b) pre- and post-award interest;

(c) punitive damages against Magid; (d) SFC’s costs and other expenses (including, without

limitation, reasonable audit and attorneys’ fees) incurred in connection with YSG’s and Magid’s

wrongdoing; and (e) such other relief as the Court deems just and proper.



Dated: October 27, 2023                           BALLARD SPAHR LLP


                                                   /s Justin Kerner
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